                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                           3:19-CR-00093-RJC-DCK
 USA                                         )
                                             )
    v.                                       )               ORDER
                                             )
 TONY OBRIAN DAVIS                           )
                                             )

         THIS MATTER is before the Court on the defendant’s Notice of Appeal, (Doc.

No. 72), of the magistrate judge’s denial, (Text-only Order, July 16, 2020), of the

defendant’s motion for inquiry of counsel, (Doc. No. 71).

         Federal Rule of Criminal Procedure 59(a) allows a district judge to refer to a

magistrate judge for determination any matter that does not dispose of a charge or

defense. When a party objects to a magistrate judge’s order on a nondispositive

matter, a district judge must determine whether the order is contrary to law or

clearly erroneous. Fed. R. Crim. P. 53(a).

         Here, the defendant sought a fifth appointed lawyer based on current

counsel’s alleged insufficient representation, complaints about information in the

Presentence Report, and lingering hesitations about the plea agreement. (Doc. No.

71: Motion at 1-2). The magistrate judge considered the late stage of the

proceedings and the history of the case and concluded that substitution of counsel

was not warranted under United States v. Mullen, 32 F.3d 891 (4th Cir. 1994).

Indeed, there is no reason to expect that the defendant will be satisfied with any

attorney appointed by the Court. (See e.g. Doc. No. 17: Pro Se Letter (alleging




         Case 3:19-cr-00093-RJC-DCK Document 77 Filed 09/25/20 Page 1 of 2
“insufficient counseling” within eight days of first counsel’s appointment); Doc. No.

26: Motion (requesting new counsel within one month of second counsel’s

appointment); Minute Order, July 3, 2019 (finding defendant’s behavior contributed

to need for appointment of new counsel); Doc. No. 41: Motion (relating “emotionally

aggressive, angry, and violent” conduct toward third appointed counsel); Doc. No.

46: Pro Se Motion (complaining of “insufficient counseling” by fourth appointed

counsel). Accordingly, the Court finds that the magistrate judge’s Order is neither

contrary to law nor clearly erroneous. The defendant will, however, have the

opportunity to address the Court personally at sentencing.

       IT IS, THEREFORE, ORDERED, that this defendant’s Notice of Appeal,

(Doc. No. 72), is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel

for the defendant, and the United States Attorney.

 Signed: September 25, 2020




                                           2

      Case 3:19-cr-00093-RJC-DCK Document 77 Filed 09/25/20 Page 2 of 2
